                     IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                                NORTHERN DIVISION

In the matter of:                                  )
                                                   )
Michael G. Dombrowski,                             )           Case No.: 16-81412-CRJ-11
SSN: xxx-xx-4413                                    )
                                                   )
               Debtor.                             )           CHAPTER 11
                                                   )


                            ORDER CONFIRMING DEBTOR’S
                         CHAPTER 11 PLAN OF REORGANIZATION


       This matter came before the Court on August 22, 2017, in Huntsville, Alabama, at a hearing
on confirmation of the Amended and Restated Plan of Reorganization (Doc. 485) (the “Plan”) filed
by Michael G. Dombrowski (the “Debtor”) on July 19, 2017. The attorneys present in open court
were Tazewell T. Shepard, III, (“Tazewell Shepard”) and Tazewell T. Shepard, IV (“Ty Shepard”),
for the Debtor; Bradley Hightower, for PNL SV, LLC, successor to First Commercial Bank; Stuart
Maples, for Sevier County Bank; and Richard Blythe, for the Bankruptcy Administrator. The
Debtor and the Debtor’s expert witness, Benjamin Wilson, were also present.


       The Court had jurisdiction to conduct the hearing and to confirm the Plan pursuant to 28
U.S.C. § 1334. Confirmation of a Plan is a core proceeding pursuant to 28 U.S.C. § 157(b) and
this Court has jurisdiction to enter a final order with respect thereto. Further, the Debtor is a proper
Debtor under 11 U.S.C. § 109 of the Bankruptcy Code and the Debtor is a proper proponent of the
Plan under 11 U.S.C. § 1121(a).


       The record reflects that a copy of the Debtor’s Plan was properly served upon the creditors
and equity security holders, and it further appears that proper notice of the confirmation hearing
was sent to all interested parties in accordance with Rule 2002 of the Federal Rules of Bankruptcy
Procedure. Moreover, Tazewell Shepard stated to the Court that a ballot was enclosed with the
Debtor’s Plan when it was sent to all parties listed on the mailing matrix and that his office sent
out ballots a second time several weeks before this hearing.




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        Mr. Shepard addressed the Court on the following pertinent facts concerning how the Plan
classifies claims and how the claims voted, as follows:

        Class 1 - Secured Claim held by Bank of America. This class is impaired. It had
        voted to reject the Plan but settled with the Debtor on the day before this hearing
        and accepted the Plan.

        Class 2 - Secured Claim held by Specialized Loan Servicing, LLC. This class is
        impaired. It did not vote.1

        Class 3 - Secured Claim held by Seterus, Inc. This class is impaired. It voted to
        accept the Plan.

        Class 4 - Secured Claim held by Seterus, Inc. This class is impaired. It voted to
        accept the Plan.

        Class 5 - Secured Claim held by U.S. Bank Trust N.A., as trustee of Bungalow
        Series F Trust. This class is impaired. It did not vote.

        Class 6 - Secured Claim held by Seterus, Inc. This class is impaired. It had voted to
        reject the Plan but settled with the Debtor on the day before this hearing and
        accepted the Plan.

        Class 7 - Secured Claim held by Seterus, Inc. This class is impaired. It voted to
        accept the Plan.

        Class 8 - Secured Claim held by Seterus, Inc. This class is impaired. It voted to
        accept the Plan.

        Class 9 - Secured Claim held by Cornerstone Bank. This class is impaired. It voted
        to accept the Plan.

        Class 10 - Secured Claim held by Cornerstone Bank. This class is impaired. It voted
        to accept the Plan.

        Class 11 - Secured Claim held by Cornerstone Bank. This class is impaired. It voted
        to accept the Plan.



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  Mr. Shepard stated to the Court that the Debtor’s Report on Creditors’ Ballots Filed Concerning Debtor’s Plan of
Reorganization (Doc. 533) contained an error in that it showed Class 2 as voting to reject the Plan. Mr. Shepard
explained that when the report was prepared, he did not realize that Bank of America had sold the claim in Class 2 to
Specialized Loan Servicing, LLC. Thus, Bank of America’s vote to reject and later to accept the Plan pertained only
to the claim in Class 1. The entity that purchased the claim in Class 2 did not vote on the Debtor’s Plan.




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       Class 12 - Secured Claim held by Progress Bank. This class is impaired. It voted to
       accept the Plan.

       Class 13 - Secured Claim held by Progress Bank. This class is impaired. It voted to
       accept the Plan.

       Class 14 - Secured Claim held by Progress Bank. This class is impaired. It voted to
       accept the Plan.

       Class 15 - Secured Claim held by United Community Bank. This class is impaired.
       It settled with the Debtor and voted to accept the Plan.

       Class 16 - Secured Claim held by Progress Bank. This class is impaired. It voted to
       accept the Plan.

       Class 17 - Secured Claim held by Piedmont Capital Lending. This class is impaired.
       It did not vote.

       Class 18 - Secured Claim held by Sevier County Bank. This class is impaired. It
       voted to accept the Plan.

       Class 19 - Secured Claim held by First Tennessee Bank N.A. This class is impaired.
       It voted to accept the Plan.

       Class 20 - Secured Claim held by PNL SV, LLC. This class is impaired. It voted to
       accept the Plan.

       Class 21 - Secured Claim held by Liberty Community Assn. This class is impaired.
       It voted to accept the Plan.

       Class 22 - Unsecured Claim held by American Express. This class is impaired. It
       voted to accept the Plan.

       Class 23 - Interests of the Individual Debtor in Property. This class is not impaired
       and thus was not entitled to cast a ballot concerning the Plan. The Debtor elected
       to retain his interests in property of the Chapter 11 Estate.

       In summary, Mr. Shepard stated for the record that nineteen (19) impaired classes voted to
accept the Plan and that three impaired classes did not cast a vote for or against the Plan. In stating
that there were no votes rejecting the Plan, he explained that he included as accepting the Plan
several classes that settled with the Debtor before this hearing and asked him to inform the Court
at this hearing of their changed vote. He also noted that all three of the entities that did not vote




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possessed filed proofs of claim in this case and were listed on the mailing matrix for service of the
Plan and for notice of this hearing.


        Mr. Shepard announced that the Debtor would elect to incorporate the pending settlements
with creditors into his Plan rather than delay confirmation until after the Court could rule at
hearings on those settlement motions. Consequently, the Debtor requested, and the Court granted,
leave to withdraw those pending settlement motions (Docs. 546, 552, and 554).


        At this point, the Court asked Debtor’s counsel to address the pending objections to
confirmation. Tazewell Shepard and Ty Shepard stated for the record as follows:


        1.       The objection to confirmation by Federal National Mortgage Association2 (Class 3
in the Plan) was withdrawn as Doc. 537 on August 17, 2017.


        2.       The objection to confirmation by Federal National Mortgage Association (Class 4
in the Plan) was withdrawn as Doc. 538 on August 17, 2017.


        3.       The objection to confirmation by Federal National Mortgage Association (Class 7
in the Plan) was withdrawn as Doc. 539 on August 17, 2017.


        4.       The objection to confirmation by Federal National Mortgage Association (Class 8
in the Plan) was withdrawn as Doc. 540 on August 17, 2017.


        5.       The objection to confirmation by Seterus, Inc. (Class 6 in the Plan) was withdrawn
as Doc. 543 on August 21, 2017.


        6.       Alabama Department of Revenue (priority claim – not in a class in the Plan) was
withdrawn as Doc. 545 on August 21, 2017.


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 Unfortunately, several claims in this case have been referred to interchangeably in pleadings and court notices as
“Federal National Mortgage Association” or “Fannie Mae”, and as “Seterus, Inc.” (Seterus is the servicing agent for
Fannie Mae.) To avoid confusion, these claims are referenced herein by their class in the Plan.




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       7.      The objection to confirmation by Internal Revenue Service (priority claim – not in
a class in the Plan) was withdrawn as Doc. 548 on August 21, 2017.


       8.      The objection to confirmation by Bank of America (Class 1) was denied as Moot
by virtue of the settlement between the Debtor and the creditor filed on the day of this hearing as
Doc. 554.


       The Court noted for the record that, in addition to counsels’ representations concerning
withdrawn objections, none of the objecting creditors appeared at this hearing in support of their
objections.


       Next, pursuant to 11 U.S.C. § 1129(b) the Court heard sworn testimony by the Debtor
concerning the feasibility of his Plan. Mr. Dombrowski stated that the source of funds to make
payments to creditors under the Plan will be future rental income and some liquidation of real
estate collateral. He participated in the negotiations prior to every settlement with creditors in this
case, and he was confident that the Estate could fulfill its settlement obligations. He also testified
that his real estate investment and management business performed well during the sixteen months
of this Chapter 11 case and that he did not have any concerns about adequate cash flow and equity
in his real properties to assure a successful reorganization.


       Upon consideration of the pleadings, testimony by the Debtor and the statements by
counsel in open court, the Court ruled as follows:


       A.      The Plan complied with all applicable provisions of the Bankruptcy Code
governing notice, disclosure, and solicitation in connection with the Plan, Disclosure Statement
and all other matters considered by this Court in connection with this case, thereby satisfying §
1129(a).




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        B.      In as much as the Plan carried all voting classes with 100% of the votes cast in those
classes and the Plan provided that all allowed claims in this case will be paid in full, a “cram down”
request was not necessary and consideration of 11 U.S.C. § 1129(b) unwarranted.


        In as much as the Debtor elected to incorporate the pending settlements with creditors into
his Plan rather than delay confirmation until after the Court could rule at hearings on those
settlement motions, the Court instructed Debtor’s counsel to circulate a red-lined and a clean-copy
final amended plan, incorporating the various settlement terms, and a draft of this Order to all
parties who had participated in this case. The Debtor will then file electronically a final Amended
Plan of Reorganization, incorporating all amendments and settlements with this Court. This final
Amended Plan of Reorganization will remain in the electronic case record for later review by any
parties of interest.


        Debtor’s counsel having complied with these instructions, it is therefore ORDERED,
ADJUDGED and DECREED that the Chapter 11 Plan of Reorganization filed by Michael G.
Dombrowski, on July 19, 2017, and modified by the Debtor’s Final Amended and Restated Plan
of Reorganization (Doc. 569) filed on August 30, 2107, is hereby CONFIRMED.


        Dated this the 5th day of September, 2017.

                                                       /s/ Clifton R. Jessup, Jr.
                                                       Clifton R. Jessup, Jr.
                                                       United States Bankruptcy Judge

REVIEWED AND APPROVED:


/s/    Bradley R. Hightower
Bradley R. Hightower on behalf of PNL SV, LLC,
successor to First Commercial Bank, a Division of
Synovus Bank

/s/     Eric J. Breithaupt
Eric J. Breithaupt on behalf of United Community Bank


/s/     Donald M. Wright




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Donald M. Wright on behalf of Seterus, Inc.

/s/     Joe A. Joseph
Joe A. Joseph on behalf of First Tennessee Bank
National Association

/s/   Chad W. Ayers
Chad W. Ayers on behalf of Progress Bank

/s/    Stuart M. Maples
Stuart M. Maples on behalf of Sevier County Bank

/s/    C. Paul Davis
C. Paul Davis on behalf of Cornerstone Bank

/s/     Richard E. O’Neal
Richard E. O’Neal on behalf of Insolvency Section,
Internal Revenue Service

/s/    Kelley A. Gillikin
Kelley A. Gillikin on behalf of Alabama Department
of Revenue

/s/    Richard M. Blythe
Richard M. Blythe on behalf of the Bankruptcy
Administrator, J. Thomas Corbett




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